Form ntcdsm

                                   UNITED STATES BANKRUPTCY COURT


Southern District of Alabama

                                                 Case No.: 15−03549
                                                     Chapter: 13

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Britney Jenice Mickles
   2028 Nicholas Lane
   Mobile, AL 36605
Social Security / Individual Taxpayer ID No.:
   xxx−xx−2654
Employer Tax ID / Other nos.:


                                             NOTICE OF DISMISSAL



You are hereby notified that an Order Dismissing the above case was entered on 12/8/16.


Dated: 12/8/16

                                                            LEONARD N. MALDONADO
                                                            Clerk, U.S. Bankruptcy Court

                                                            RH
                                                            Deputy Clerk Initials




      Case 15-03549         Doc 54-1 Filed 12/08/16 Entered 12/08/16 11:39:05                      Desc Notice
                                  of Dismissal (Motion GR Page 1 of 1
